        Case 1:24-cr-00542-AS            Document 81       Filed 11/21/24      Page 1 of 10




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,
                                                                         24-cr-542 (AS)
        v.

 SEAN COMBS,

                            Defendant.



                      DECLARATION OF TENY GERAGOS KRISHNASWAMY

       I, Teny Rose Geragos Krishnaswamy, declare as follows:

       1.         I am a partner at Agnifilo Intrater LLP, counsel for Sean Combs. I am licensed and

in good standing to practice law in the States of New York and California and I am also admitted

to the United States District Court for the Southern District of New York.

       2.         The declaration is based on my personal knowledge of the facts stated herein, and

is submitted in reply to the government’s Response (Dkt. 69) of Mr. Combs’ Renewed Motion For

Bail (Dkt. 60).

             The Defendant and Defendant’s Counsels’ Efforts to Interview Witnesses

       3.         Mr. Agnifilo and I began interviewing witnesses for this matter in April 2024, after

the Department of Homeland Security’s raids at two of Mr. Combs’ residences and on his person.

       4.         Mr. Agnifilo stated examples of these interviews at the bail hearing on September

17, 2024:

      “So Ms. Geragos and I have interviewed a half a dozen of these males. We have been as
       busy as the government has over the last six months.” See 9/17/24 Tr. at 42.

      “They talk about other violence in their bail letter, and they are talking about a kidnapping
       from 2011, and I know exactly what they are talking about because we interviewed – I
       know who the person was who was allegedly kidnapped. Ms. Geragos and I interviewed
       her in Los Angeles. We took a statement from her. She certainly didn't use the word
        Case 1:24-cr-00542-AS          Document 81          Filed 11/21/24     Page 2 of 10




        'kidnapping' with us. I won't get into what she did say, but let's suffice it to say there is
        another side to that sto1y, and one day that other side might be told." See 9/ 17/24 Tr. at 43-
        44.

    •   "Are we going to continue to interview witnesses? Of course, we are. We take pains to stay
        out of the government's way. We don 't know who the grand jmy witnesses are, you know.
        And honestly - I won't get into the details. Ifl think they are talking to someone, I will pull
        up short. I don't want any problems. You know, do I want to speak -- we both know pretty
        much eve1ything, you know." See 9/17/24 Tr. at 52.

        5.     After Mr. Combs' indictment on this matter, the government and I began

negotiations over the Protective Order. Because we had protracted discussions, we did not come

to agreement on te1ms until on or about October 4, 2024. (See Dkt. 25: Letter Motion attaching

Protective Order.) This Comi entered the agreed-upon Protective Order on or about October 7,

2024. That evening, the government produced their first production of discove1y material to the

defense. This production included the government's search wanants and their supporting

affidavits.

        6.     Even without the benefit of the government's discove1y, Mr. Agnifilo's and my

investigation continued. In the beginning of October, our investigator traveled to the-                  I

to inte1view multiple witnesses-he had planned to inte1view people in




        7.     On October 2, 2024, our investigator was in                   I inte1viewing a witness.
He then traveled to                                   Ito inte1view                 Iwe believed may

have impoitant info1mation related to the investigation. On October 3, 2024, I met with my client

at MDC and discussed                            Iwith him. We discussed




                                                  2
        Case 1:24-cr-00542-AS          Document 81        Filed 11/21/24     Page 3 of 10




(See Dkt. 69 at 21.) This individual who, as the government states "has previously publicly detailed

the physical abuse she suffered" remained romantically involved with Mr. Combs on and off until

less than a month before Victim-1 's filed her November 2023 lawsuit. (Id.)                 , I sent

Mr. Agnifilo and our investigator the following text message:




        8.       The next day, our client made the call in which the government ti·anscribes,




                                   (See Dkt. 69, Ex. Mat 3:04-3:57) (Oct. 4, 2024 call)).

        9.       The last paii of the sentence, which is not included in the government's brief, but

is in the exhibit, states:



                                                                                                (Id.

at 3:30-3:57.)

        10.      Ultimately,




                                                  3
        Case 1:24-cr-00542-AS         Document 81        Filed 11/21/24     Page 4 of 10




       11.    On October 7, 2024, we received the government's search wanant affidavits. It

became clear to me from                                  that Victim-3 was considered an alleged

victim by the government and that,                                         . With this info1mation

from the search wan ant affidavits,

                                                    Therefore, after October 7, 2024, I have not

reviewed any discove1y where Mr. Combs states on any calls, or in any emails to anyone to contact

Victim-3. Instead, Mr. Combs focuses on potential witnesses to address Victim-3 and possible

allegations. (See Dkt. 69, Ex.Nat 4:10-4:24 (Oct. 14, 2024 call). There was never any instruction

whatsoever that Mr. Combs, or counsel, would "blackmail" Victim-3.

                                            Witness-]

       12.    The government's Response addresses Mr. Combs' contact with Witness-I .

       13.    -       the search warrant affidavits received on October 7, 2024, state:




       14.

                                                                          , who the government

describes as Witness-I in Document Number 69. Prior to reviewing the government's search

wan ants, I was unaware that the government put Witness-I in the grand j m ~


                                                4
         Case 1:24-cr-00542-AS       Document 81       Filed 11/21/24    Page 5 of 10




         15.   I first learned of Witness-I                , when Marc Agnifilo and I were in

Miami, Florida meeting with our client at his house.

         16.   As pa1t of our defense investigation, we have discussed several individuals with

whom Mr. Agnifilo and I detennined we should interview as pait of our defense investigation .




                                                                           . The photograph is

below:




         17.




                                                5
        Case 1:24-cr-00542-AS           Document 81       Filed 11/21/24     Page 6 of 10




        18.      On June 25, 2024, Mr. Agnifilo and I traveled to                  to continue our

investigation.




                                resident.

                                                                       Mr. Agnifilo and I met with

Mr. Combs at his home in Los Angeles. Mr. Combs called Witness-I at

                                                                   Mr. Combs made this phone call

m our presenc




        21.      I memorialized this conversation in writing at the time-

        22.      On June 27, 2024, after                                             Mr. Agnifilo

and I



1 On November 20, 2024, the government made available for inspection

                  Victim-I and Witness-I, which conoborates this witness's statement.

                                                  6
        Case 1:24-cr-00542-AS           Document 81         Filed 11/21/24     Page 7 of 10




       23.     On July 8, 2024, I believe I contacted Witness-I for his attorney's name and contact

infonnation. Mr. Agnifilo and I spoke to Witness-1's attorney, who declined to make his client

available for an interview.

                                            Individual-I

       24.     This Individual, as the government states, is Mr. Combs ' '                   ." (See Dkt.

69 at 20.)

       25.     The government writes that Mr. Combs said he has '                                 " (Id.)

This has nothing to do with '                                                                     ." (Id.)

He goes on to talk about '                               " There is no indication in this call, or any

others that I've received in discove1y and listened to, that he wanted to distribute   'Ill"or videos
of Victim- I to the media. Instead, he says'                                  ." (Dkt. 69, Ex. L.)




       27.     Mr. Combs says next, '                                             " Here, Mr. Combs

is referencing an unreleased music video of a song called Stay: Paii 1 from his September 2023

Album called Love Album. He stated, '                        (' but '                    "

       28.     It is my understanding that '-              " i.e. dropping songs and music videos

anonymously, is regulai· practice in the music industiy .

       29.     It is also my understanding that the music video for this song was never '-             ."

       30.     I reviewed this music video on the evening of November 20, 2024, and can confmn

that this music video does not reference Victim- I.



                                                  7
          Case 1:24-cr-00542-AS       Document 81        Filed 11/21/24     Page 8 of 10




          31.   Because Individal-1 is Mr. Combs’ longtime videographer, I had asked him to

provide me with all videos he had access to of Victim-1, as these videos are responsive to Request

No. 23 in the Corporate Records Subpoena. He provided me with these videos and on October 29,

2024, I produced 13 videos “regarding” Victim-1 (some depicting her, and one depicting my client

regarding her) to the government as part of our rolling subpoena compliance.

          32.   On November 12, 2024, Individual-1 contacted me and stated that the lead case

agent approached him and that they were going to meet the next day. I instructed my client

immediately to cease contact with Individual-1.

                                        BOP Prison Calls

          33.   It is my understanding that BOP inmates receive 300 minutes of phone calls per

month, with an additional 100 minutes per month in November and December. (See

https://www.bop.gov/locations/institutions/bro/bro_ao-handbook.pdf?v=1.0.0 at 10.) It is also my

understanding, and my experience based on phone calls with my client, that calls are limited to 15

minutes in duration (id. at 26) and that the phone system allows inmates to make one call per hour.

          34.   As I understand it, inmates will frequently use other inmates’ minutes to allow for

(1) more than one call in a one-hour period; and (2) more phone calls once their 300 minutes

expire.

                                    CONTACTMEASAP.COM

          35.   After Mr. Combs was incarcerated, the government advised me that they were

aware of many contraband cellular devices in the MDC, and asked if I would change Mr. Combs’

iCloud passwords. I agreed. To date, I have been unable to do so, but have represented to the

prosecutors that Mr. Combs does not have, nor does he use, a contraband cellular device.




                                                  8
        Case 1:24-cr-00542-AS        Document 81      Filed 11/21/24     Page 9 of 10




        36.    ContactMeAsap.com and pn son calls have been monitored, recorded, and

reviewable by SIS officers at the MDC. These communications (with the exception of legal video

teleconferences) have subsequently been produced to the government.

        37.    Since Mr. Combs has been incarcerated, I have been aware of his use of

ContactMeAsap.com, though I did not have an understanding that this was unauthorized. I have

spoken, multiple times, with an administrator of this website, and confnmed that this method of

communication utilized the Bureau of Prisons' TrnLincs/CoITlinks system and was monitored by

BOP officials, who are able to monitor eve1y message Mr. Combs sends and receives.

        38.    My understanding has now been verified through the government's discove1y-

because we have received Mr. Combs' ContactMeAsap.com messages.

        39.    The government never instmcted me to refrain from having him use this service,

nor has the BOP.

        40.    Mr. Combs is no longer using ContactMeAsap.com as of November 16, 2024.

              Additional Video Evidence from the Intercontinental Hotel Incident

        41.    On November 13, 2024, the government produced their sixth production of

discove1y to the defense. Included in the production was USAO_00937645 - USAO_00937646,

which

                                                                                     from the

Intercontinental hotel incident in March of 2016.



        42.    Atta.ched to this Declaration as Exhibit Bis USAO 00937645.

        43.    Atta.ched to this Declaration as Exhibit C is USAO 00937646.




                                                9
         Case 1:24-cr-00542-AS       Document 81       Filed 11/21/24      Page 10 of 10




         44.   On November 15, 2024, I asked the government when they came into possession

of                    . The government replied that they came into possession of -             on

August 7, 2024.

                                         Conor Mccourt

         45.   On November 15, 2024, we retained Conor McComi as an expe11. In connection

with his retention on this matter, we provided him with the Protective Order entered in this case,

Exhibit A-1 from the Government's previous bail filings, and USAO_00937645 -

USAO_00937646,                     produced to us in discove1y on November 13, 2024.

         46.   At my and my co-counsel's direction, Mr. McComi created the video, attached to

this Declaration as Exhibit D, comparing Exhibit A-1 of the Government's Bail Response with

USAO_00937645 (Exhibit B) - USAO_00937646 (Exhibit C).

         47.   Pursuant to 28 U.S.C. § 1746, I declare under penalty of pe1jmy that the foregoing

is trne and conect.

Dated:         November 21 , 2024
               New York, NY

                                                    Isl Teny Geragos
                                                    Teny Rose Geragos, Esq.
